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                                          UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF WEST VIRGINIA
                                                   Wheeling DIVISION


    In re: Ohio Valley University                                 §    Case No. 22-00056
                                                                  §
                                                                  §
                                                                  §
                                 Debtor(s)


                                              TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 02/17/2022. The
    undersigned trustee was appointed on 02/17/2022.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of                  $          408,418.18
                             Funds were disbursed in the following amounts:

                             Payments made under an
                              interim distribution                                     52,500.00
                             Administrative expenses                                   66,655.28
                             Bank service fees                                          7,166.53
                             Other payments to creditors                                     0.00
                             Non-estate funds paid to 3rd Parties                            0.00
                             Exemptions paid to the debtor                                   0.00
                             Other payments to the debtor                                    0.00
                             Leaving a balance on hand of1                $           282,096.37
    The remaining funds are available for distribution.

   1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to

   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 06/02/2022 and the deadline for filing
    governmental claims was 06/02/2022. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $23,670.91. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $23,670.91, for a
    total compensation of $23,670.912. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $3,417.42 for
    total expenses of $3,417.422.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 06/24/2024                                     By: /s/ Thomas H. Fluharty
                                                                        Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                                           29                                                                       Exhibit A
                                           Individual Estate Property Record and Report                                                             Page: 1

                                                            Asset Cases
Case No.:    22-00056                                                                    Trustee Name:      (680230) Thomas H. Fluharty
Case Name:         Ohio Valley University                                                Date Filed (f) or Converted (c): 02/17/2022 (f)
                                                                                         § 341(a) Meeting Date:       04/13/2022
For Period Ending:         06/24/2024                                                    Claims Bar Date:      06/02/2022

                                       1                         2                      3                      4                   5                     6

                           Asset Description                 Petition/          Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)   Unscheduled         (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                              Values                  Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                         and Other Costs)

    1       Cash on hand                                             500.00                   500.00                                    0.00                          FA

    2       Account - Unrestricted - Frozen                     26,115.49                   26,115.49                                   0.00                          FA
            United Bank & Bond Holders hold liens.

    3       Account - Wire transfer -- frozen                  100,549.69                100,549.69                                     0.00                          FA
            United Bank & Bond Holders hold liens.

    4       Account - Restricted                                     500.00                   500.00                                    0.00                          FA
            United Bank & Bond Holders hold liens.

    5       Account - Athletics Restricted - frozen                    5.00                      5.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

    6       Account - Student Gov. Account                            80.00                     80.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

    7       Account - Private loans                                    5.00                      5.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

    8       Account - Holding account                                  5.00                      5.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

    9       Account - Missions restricted - frozen              38,634.00                   38,634.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

   10       Account - Payroll                                    1,290.64                    1,290.64                                   0.00                          FA
            United Bank & Bond Holders hold liens.

   11       Account - Perkins                                   14,288.60                   14,288.60                                   0.00                          FA
            United Bank & Bond Holders hold liens.

   12       Account - PEX Debit Card                             1,928.00                    1,928.00                                   0.00                          FA
            United Bank & Bond Holders hold liens.

   13       DOE CD                                                   423.00                   423.00                                    0.00                          FA
            United Bank & Bond Holders hold liens.

   14       DOE CD                                               3,843.93                    3,843.93                                   0.00                          FA
            United Bank & Bond Holders hold liens.

   15       A/R 90 days old or less. Face amount =             427,826.38                427,826.38                                     0.00                          FA
            $427,826.38. Doubtful/Uncollectible
            accounts = $0.00.
            United Bank & Bond Holders hold liens.

   16       A/R Over 90 days old. Face amount =            1,018,976.19                1,018,976.19                                     0.00                          FA
            $1,018,976.19. Doubtful/Uncollectible
            accounts = $0.00.
            United Bank & Bond Holders hold liens.

   17       Vehicles: 2019 Ford 12 passenger van -                     0.00                      0.00                                   0.00                          FA
            athletics
            Leased - Merchant Fleet.

   18       Vehicles: 2019 Ford 12 passenger van -                     0.00                      0.00                                   0.00                          FA
            athletics
            leased - Merchant Fleet.

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                                                              Asset Cases
Case No.:    22-00056                                                                               Trustee Name:      (680230) Thomas H. Fluharty
Case Name:         Ohio Valley University                                                           Date Filed (f) or Converted (c): 02/17/2022 (f)
                                                                                                    § 341(a) Meeting Date:       04/13/2022
For Period Ending:          06/24/2024                                                              Claims Bar Date:      06/02/2022

                                         1                                  2                      3                      4                    5                    6

                            Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                 (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                    and Other Costs)

   19       Vechiles: 2006 Ford - 15 passenger van                         Unknown                      3,500.00                               2,000.00                          FA
            - athletics
            catalytic converter stolen

   20       Vehicles: 2012 Toyota Prius - usage -                          Unknown                      6,000.00                               3,850.00                          FA
            Admission

   21       Vehicles: 2013 Toyota Prius - usage -                          Unknown                      5,500.00                               4,300.00                          FA
            Admission

   22       Vehicles: 2013 Toyota Prius - usage:                           Unknown                      5,600.00                               7,100.00                          FA
            Admission

   23       Vehicles: 2015 Toyota Prius - usage:                           Unknown                      6,900.00                                   0.00                          FA
            President
            This asset was mistakenly described in petition by
            debtor; Asset #39 is the correct description of vehicle.
            Mike Ross has vehicle. He surrendered vehicle for
            trustee to sell.



   24       Vehicles: Bus - 25 passenger - Athletics                       Unknown                      3,000.00                               8,550.00                          FA

   25       Vehicles: 2015 Toyota Avalon - usage:                          Unknown                     13,000.00                              15,000.00                          FA
            Chancellor
            Keith Stotts has purchased vehicle.

   26       Vehicles: 2004 Chevy S-10 - usage:                             Unknown                      2,300.00                                   0.00                          FA
            Maintenance

   27       Vehciles: 2006 Subaru Outback - usage:                         Unknown                      2,500.00                                   0.00                          FA
            Security

   28       Real Property: Ohio Valley University                      6,000,000.00                         0.00                              42,000.00                          FA
            Bond Holders hold liens.

   29       Oil & Gas (see attached)                                     150,000.00                 150,000.00                             188,315.69                            FA

   30       Misc. Real Estate - AT&T rental of land                        Unknown                          1.00                                   0.00                          FA
            for cell
            monthly payment of $1,500.00

   31       Oil Royalities                                                      152.00                   152.00                                    0.00                          FA

   32       Millennia Note Apartment Sales                             1,425,000.00               1,425,000.00                                     0.00                          FA

   33       3 Remainder Trusts: Gill; Barr; Ramsey                         Unknown                          1.00                                   0.00                          FA

   34       United HealthCare Services, Inc. refund                               0.00                      0.00                                   2.49                          FA
            (u)

   35       1996 Subaru Legacy VIN                                                0.00                      0.00                               1,300.00                          FA
            4S3BG6857T7385544 (u)

   36       1999 GMC Sonoma VIN                                                   0.00                      0.00                               1,700.00                          FA
            1GTCS19XXX8511594 (u)

   37       VOID (u)                                                             VOID                      VOID         VOID                       VOID                    VOID
            this was a duplicate of asset #35.



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                                             Individual Estate Property Record and Report                                                                    Page: 3

                                                              Asset Cases
Case No.:    22-00056                                                                             Trustee Name:      (680230) Thomas H. Fluharty
Case Name:         Ohio Valley University                                                         Date Filed (f) or Converted (c): 02/17/2022 (f)
                                                                                                  § 341(a) Meeting Date:       04/13/2022
For Period Ending:          06/24/2024                                                            Claims Bar Date:      06/02/2022

                                        1                                   2                    3                      4                    5                    6

                            Asset Description                            Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                 (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                  and Other Costs)

   38       VOID (u)                                                            VOID                     VOID         VOID                       VOID                    VOID
            this was a duplicate of asset #36.

   39       2013 Toyota Prius VIN                                               0.00                      0.00                               5,800.00                          FA
            JTDKN3DU8D1724608 (u)
            This asset was mistakenly described in petition by
            debtor; Asset #39 is the correct description of vehicle.

   40       2009 PACE American trailer small box                                0.00                      0.00                               2,700.00                          FA
            VIN 4FPFB08199G135011 (u)

   41       2016 Cargo mate trailer, large box, VIN                             0.00                      0.00                               6,800.00                          FA
            5NHUBLV36GY072748 (u)

   42       Coal Interests in every county in WV                                0.00                      0.00                           105,000.00                            FA
            except Marshall County (u)
            All coal interests sold to Tusc Land in every county in
            WV except Marshall County.

   43       Olbricht Collection (religious books                                0.00                  2,000.00                               2,000.00                          FA
            concerning the Church of Christ) (u)
            being sold to the Abilene Christian University.

   44       Sale of Remnant Assets                                              0.00                 12,000.00                              12,000.00                          FA

   44       Assets Totals (Excluding unknown values)                   $9,210,122.92           $3,272,424.92                           $408,418.18                       $0.00




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                                    Individual Estate Property Record and Report                                                     Page: 4

                                                     Asset Cases
Case No.:   22-00056                                                            Trustee Name:      (680230) Thomas H. Fluharty
Case Name:      Ohio Valley University                                          Date Filed (f) or Converted (c): 02/17/2022 (f)
                                                                                § 341(a) Meeting Date:    04/13/2022
For Period Ending:     06/24/2024                                               Claims Bar Date:     06/02/2022


 Major Activities Affecting Case Closing:

                           6-20-24: corrected Forms 1 & 2, revised final report & resend to UST for review.
                           6-6-24: draft appl employ attorneys to handle lawsuit in Circuit Ct Wood County.
                           5-20-24: emailed final report to UST for review.
                           5-16-24: drafted final report & notice.
                           5-15-24 - worked on final report distribution, appl pay atty & trustee fees.
                           4-25-24: drafted reports of sale remnant assets & book collection.
                           4-2-24: drafted bills of sale books & remnant assets.
                           3-7-24: filed motion sell remnant assets & motion sell Olbricht Collection books.
                           2-26-24: revised motion & apa
                           2-23-24: drafted asset purchase agreement & motion approve sale of remnant assets
                           2-20-24: drafted appl pay accountant fees & expenses.
                           12-13-23: filed report of sale.
                           12-7-23: drafted report of sale of campus real estate.
                           11-16-23: filed objection to claims.
                           11-6-23: drafted objection to claims.
                           9-20-23: drafted rescheduled notice of hearing; revised; filed w/Court , mailed to all creditors. Hearing: 9-28-
                           23 @ 11 am.
                           9-6-23: held hearing on sale of O&G Marion & Wetzel Counties
                           8-21-23: scanned Perkins loan docs & emailed them to DOE.
                           8-14-23: prepared motion, order to sell for filing / draft, revise & prepare notice of telephonic hearing for filing
                           w/Court.
                           8-10-23: revised the motion & order to sell real & personal property.
                           8-9-23: filed motion, notice of hearing to sell O&G Marion, Wetzel Counties.
                           8-8-23: drafted motion, notice of hearing to sell O&G Marion, Wetzel Counties; revised
                           7-5-23: filed motion to sell & mailed to all creditors.
                           6-27-23: drafted motion sell real & personal property.
                           6-21-23: to Wetzel County, record room work on O/G interests.
                           6-5-23: filed motion expend funds assign Perkins Loans - DOE
                           6-1-23: draft motion expend funds assign Perkins loans to DOE
                           5-25-23: draft motion expend funds to pay fees & costs to prepare assigned Perkins loans to Dept Education
                           5-11-23: paid funds over to workers on transcripts / paid royalty funds to Structured Assets from Tyler Co oil
                           & gas interests.
                           4-5-23: paid funds over to workers on transcripts.
                           4-4-23: researched oil & gas minerals in Marion County- rec'd ck from XTO for O&G
                           2-14-23: filed motion preserve transcripts.
                           2-13-23: revised motion preserve transcripts
                           2-10-23: drafted motion expend funds preserve transcripts
                           1-18-23: draft motion preserve transcript records.
                           1-17-23: drafted corrective deeds, coal assets.
                           1-13-23: drafted corrective deed, coal assets
                           1-3-23: filed order authorizing sale of O&G Tyler Co.
                           12-14-22: filed motion to terminate pension plan / motion lease Wetzel County O&G // telephonic auction
                           held sold O&G interest in Tyler County.
                           12-7-22: drafted 2nd motion lease O&G in Wetzel Co.
                           12-5-22: revised motion to terminate pension plan.
                           11-30-22: revised both notices, filed w/Court.
                           11-29-22: draft notice of upset bid-Tyler Co O&G & notice of telephonic auction
                           11-1-22: TC M. Kitchen re deeds on coal assets.
                           10-10-22: drafted order confirming auction & a deed.
                           10-5-22: trustee conducted telephonic auction of coal assets; will file motion to confirm auction next week.
                           10-3-22: received funds from auction of vehicles, deposited.
                           9-21-22: filed reports of sale-Dodd & Harr Counties.
                           9-20-22: draft deeds for sale of Doddridge & Harrison Counties oil & gas interests.
                           9-19-22: drafted notice of auction for Tyler Co O&G interests.
                           8-31-22: held tele auction of oil & gas interests in Dodd & Harr Counties.
                           8-30-22: drafted order confirming auction of O&G Doddridge & Harrison Counties.
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                                    Individual Estate Property Record and Report                                                   Page: 5

                                                     Asset Cases
Case No.:   22-00056                                                          Trustee Name:      (680230) Thomas H. Fluharty
Case Name:      Ohio Valley University                                        Date Filed (f) or Converted (c): 02/17/2022 (f)
                                                                              § 341(a) Meeting Date:    04/13/2022
For Period Ending:     06/24/2024                                             Claims Bar Date:     06/02/2022

                           8-25-22: filed notice of telephonic auctions / order approving piecemeal auction of vehicles.
                           8-24-22: drafted notice of auction, upset bids Harrison, Doddridge, Tyler, Wetzel Counties (O&G / coal)
                           8-23-22: drafted motion sell Tyler Co minerals
                           8-16-22: drafted motion conduct piecemeal auction/ TC w/auctioneer on vehicles being vandalized.
                           8-4-22: drafted motion to compromise coal interests.
                           8-3-22: filed appl employ auctioneer.
                           7-29-22: TC w/auctioneer on motion to employ, changes/corrections & terms of employment.
                           7-28-22: filed motion sell O&G Harrison Co.
                           7-21-22: drafted appl sell real property (O&G in Harrison Co).
                           7-20-22: TC w/ Nick D. JRPyle Auction, discussed vehicles & trailers, titles & keys for auction; drafted appl to
                           employ; sent affidavit for employment.
                           7-8-22: filed motion sell O&G interest Dodd Co.
                           6-30-22: drafted motion sell oil & gas interest in Doddridge County.
                           6-28-22: drafted motion authorize trustee to consent to relief requested in Mildred Stanley civil action case.
                           6-9-22: filed appl employ accountant.
                           6-8-22: set up auctioneer meeting on vehicles / drafted appl employ accountant / drafted motion sell O&G
                           interests Harrison & Doddridge Counties.
                           6-7-22: drafted motion consent relief requested in civil action (estate of Mildred Stanley)
                           6-1-22: filed motion to sell coal assets.
                           5-31-22: corrected motion, notice & order to sell coal.
                           5-27-22: reviewed boxes of various documents pertaining to case.
                           5-26-22: corrected draft motion to sell / emailed to purchaser for review.
                           5-10-22: drafted motion sell coal assets.
                           3-7-22: filed appl employ atty.
                           3-4-22: draft appl employ atty for trustee.
                           3-1-22: conduct 341 Meeting / investigate oil & gas interests, cell tower / locate & liquidate vehicles /


 Initial Projected Date Of Final Report (TFR): 08/31/2023            Current Projected Date Of Final Report (TFR):    05/20/2024 (Actual)




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                                                                                                                                                     Exhibit B
                                                                               29                                                                        Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              22-00056                                            Trustee Name:                       Thomas H. Fluharty (680230)
Case Name:             Ohio Valley University                              Bank Name:                          Metropolitan Commercial Bank
Taxpayer ID #:         **-***9865                                          Account #:                          ******1551 Checking
For Period Ending:     06/24/2024                                          Blanket Bond (per case limit):      $3,000,000.00
                                                                           Separate Bond (if applicable):      N/A

    1            2                      3                                          4                                 5                       6                     7

  Trans.    Check or        Paid To / Received From           Description of Transaction         Uniform         Deposit               Disbursement       Account Balance
   Date      Ref. #                                                                             Tran. Code         $                         $

 05/11/22     {34}     United HealthCare Services, Inc.   refund - overpayment                   1229-000                   2.49                                            2.49
 05/16/22     {25}     Gordon & Bertha Rampy              partial sale proceeds for a 2015       1129-000                5,000.00                                       5,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Bruce & Catherine Rampy            partial sale proceeds for a 2015       1129-000                3,000.00                                       8,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Nicholas Johnson                   partial sale proceeds for a 20`5       1129-000                1,000.00                                       9,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Rebekah Moore                      partial sale proceeds for a 2015       1129-000                1,000.00                                      10,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Margaret E. Stover                 partial sale proceeds for a 2015       1129-000                1,000.00                                      11,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Helen M & Robert A Stewart, Jr     partial sale proceeds for a 2015       1129-000                1,000.00                                      12,002.49
                                                          Toyota Avalon
 05/16/22     {25}     Leon Tennant, Jeweldine            partial sale proceeds for a 2015       1129-000                1,000.00                                      13,002.49
                       Tennant, Craig Tennant             Toyota Avalon
 05/16/22     {25}     R. Benjamin & Stephanie Moore      partial sale proceeds for a 2015       1129-000                 500.00                                       13,502.49
                                                          Toyota Avalon
 05/16/22     {25}     William & Betty Phillis            partial proceeds for a 2015 Toyota     1129-000                 500.00                                       14,002.49
                                                          Avalon
 05/16/22     {25}     Jacquelyn & Cynthia Moore          partial proceeds for a 2015 Toyota     1129-000                 500.00                                       14,502.49
                                                          Avalon
 05/16/22     {25}     Faynelle & Lacy Evans              partial proceeds for a 2015 Toyota     1129-000                 300.00                                       14,802.49
                                                          Avalon
 05/16/22     {25}     Earl R. Scyoc                      partial proceeds for a 2015 Toyota     1129-000                 200.00                                       15,002.49
                                                          Avalon
 05/31/22              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                         9.61                 14,992.88
                                                          Fees
 06/30/22              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                        26.43                 14,966.45
                                                          Fees
 07/29/22              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                        23.18                 14,943.27
                                                          Fees
 08/31/22              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                        26.34                 14,916.93
                                                          Fees
 09/02/22     {29}     Clarence & Mary Mutschelknaus      sale proceeds O&G interests            1123-000            20,000.00                                         34,916.93
                                                          Doddridge County, WV
 09/02/22     {29}     Clarence & Mary Mutschelknaus      sale proceeds O&G interests            1123-000            10,000.00                                         44,916.93
                                                          Harrison County, WV
 09/30/22              Metropolitan Commercial Bank       Bank and Technology Services           2600-000                                        68.78                 44,848.15
                                                          Fees
 10/03/22              Joe R. Pyle Auction Service        auction sale proceeds of vehicles.                         44,100.00                                         88,948.15
              {36}                                        auction sale proceeds                  1229-000
                                                                                   $1,700.00
              {19}                                        auction sale proceeds                  1129-000
                                                                                   $2,000.00
              {24}                                        auction sale proceeds                  1129-000
                                                                                   $8,550.00
              {20}                                        auction sales proceeds                 1129-000
                                                                                   $3,850.00
              {21}                                        auction sale proceeds                  1129-000
                                                                                   $4,300.00


                                                                                             Page Subtotals:      $89,102.49                 $154.34


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                         ! - transaction has not been cleared
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                                                                                 29                                                                              Page: 2
                                                Cash Receipts And Disbursements Record
Case No.:              22-00056                                               Trustee Name:                        Thomas H. Fluharty (680230)
Case Name:             Ohio Valley University                                 Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***9865                                             Account #:                           ******1551 Checking
For Period Ending:     06/24/2024                                             Blanket Bond (per case limit):       $3,000,000.00
                                                                              Separate Bond (if applicable):       N/A

    1            2                      3                                            4                                    5                       6                        7

  Trans.    Check or       Paid To / Received From              Description of Transaction           Uniform         Deposit                Disbursement          Account Balance
   Date      Ref. #                                                                                 Tran. Code         $                          $

              {22}                                          auction sales proceeds                   1129-000
                                                                                      $7,100.00
              {39}                                          auction sales proceeds                   1229-000
                                                                                      $5,800.00
              {40}                                          auction sales proceeds                   1229-000
                                                                                      $2,700.00
              {41}                                          auction sales proceeds                   1229-000
                                                                                      $6,800.00
              {35}                                          auction sales proceeds                   1229-000
                                                                                      $1,300.00
 10/14/22     {42}     Tusc Land, LLC                       sale proceeds of coal interests in       1210-000            105,000.00                                        193,948.15
                                                            all counties, except Marshall
                                                            County, WV
 10/31/22              Metropolitan Commercial Bank         Bank and Technology Services             2600-000                                          214.88              193,733.27
                                                            Fees
 11/02/22     101      Joe R. Pyle Complete Auction &       Auctioneer's Fees & Expenses                                                              5,759.10             187,974.17
                       Realty Services
                                                            auctioneer fees                          3610-000
                                                                                      $4,410.00
                                                            auctioneer expenses                      3620-000
                                                                                      $1,349.10
 11/30/22              Metropolitan Commercial Bank         Bank and Technology Services             2600-000                                          324.45              187,649.72
                                                            Fees
 12/06/22     {29}     Antero Resources Corporation         oil & gas interest proceeds              1123-000                 2,967.21                                     190,616.93
 12/13/22     102      ABTV Receivership Services, LLC      1/2 proceeds from sale of coal           4110-000                                     52,500.00                138,116.93
                                                            assets except Marshall County,
                                                            WV
 12/19/22     {29}     Mark S. Kidder                       deposit for Wetzel Lease, Center         1123-000                   10.00                                      138,126.93
                                                            District, (Lease #1)
 12/19/22              Structured Asset Sales, LLC (NV)     12-20-22: check amount &                 1129-000            109,000.00                                        247,126.93
                                                            description amount not the same
                                                            reverse deposit. // proceeds from
                                                            sale of Tyler County oil & gas
                                                            interests
 12/20/22              Structured Asset Sales, LLC (NV)     Deposit Reversal: 12-20-22: check        1129-000            -109,000.00                                       138,126.93
                                                            amount & description amount not
                                                            the same reverse deposit. //
                                                            proceeds from sale of Tyler County
                                                            oil & gas interests
 12/22/22     {29}     Structured Asset Sales, LLC (NV)     proceeds from sale of Tyler County       1123-000            109,000.00                                        247,126.93
                                                            O&G interests
 12/30/22              Metropolitan Commercial Bank         Bank and Technology Services             2600-000                                          320.29              246,806.64
                                                            Fees
 01/03/23     {29}     Antero Resources Corporation         September & October O&G royalty          1123-000                 1,015.90                                     247,822.54
                                                            payment - Tyler County, WV
 01/18/23              Transfer Debit to TriState Capital   Transition Debit to TriState Capital     9999-000                                    247,822.54                      0.00
                       Bank acct XXXXXX6150                 Bank acct XXXXXX6150




                                                                                                 Page Subtotals:    $217,993.11               $306,941.26


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                              ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              22-00056                                        Trustee Name:                    Thomas H. Fluharty (680230)
Case Name:             Ohio Valley University                          Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***9865                                      Account #:                       ******1551 Checking
For Period Ending:     06/24/2024                                      Blanket Bond (per case limit):   $3,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                      7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                       Tran. Code        $                       $


                                         COLUMN TOTALS                                                        307,095.60           307,095.60                  $0.00
                                                Less: Bank Transfers/CDs                                            0.00           247,822.54
                                         Subtotal                                                             307,095.60             59,273.06
                                                Less: Payments to Debtors                                                                 0.00

                                         NET Receipts / Disbursements                                      $307,095.60             $59,273.06




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                 ! - transaction has not been cleared
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                                                Cash Receipts And Disbursements Record
Case No.:              22-00056                                              Trustee Name:                         Thomas H. Fluharty (680230)
Case Name:             Ohio Valley University                                Bank Name:                            TriState Capital Bank
Taxpayer ID #:         **-***9865                                            Account #:                            ******6150 Checking Account
For Period Ending:     06/24/2024                                            Blanket Bond (per case limit):        $3,000,000.00
                                                                             Separate Bond (if applicable):        N/A

    1            2                      3                                             4                                   5                       6                        7

  Trans.    Check or       Paid To / Received From              Description of Transaction           Uniform         Deposit                Disbursement          Account Balance
   Date      Ref. #                                                                                 Tran. Code         $                          $

 01/18/23              Transfer Credit from Metropolitan   Transition Credit from Metropolitan       9999-000            247,822.54                                        247,822.54
                       Commercial Bank acct                Commercial Bank acct
                       XXXXXX1551                          XXXXXX1551
 01/20/23     {29}     Mark S. Kidder                      2nd Lease of Wetzel County O&G            1123-000                   10.00                                      247,832.54
 01/31/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          423.46              247,409.08
                                                           Fees
 02/02/23    1000      National Benefit Services, Inc.     Termination of OVU's 403(b) Plan          2990-000                                     24,785.00                222,624.08
 02/28/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          360.82              222,263.26
                                                           Fees
 03/06/23    1001      Insurance Partners                  Trustee Chapter 7 Bond /                  2300-000                                          296.11              221,967.15
                                                           Acct#62949
 03/31/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          367.75              221,599.40
                                                           Fees
 04/04/23     {29}     XTO Energy, Inc.                    oil & gas minerals, Marion County,        1123-000                   37.75                                      221,637.15
                                                           WV
 04/05/23    1002      Kayla Martin                        pulled transcripts in 3rd floor           2420-000                                          153.00              221,484.15
                                                           record room to be digitalized later
 04/05/23    1003      Miley Hoover                        pulling transcripts for digitizing        2420-000                                         1,230.00             220,254.15
                                                           later
 04/05/23    1004      Lexi Hoover                         pulling transcripts for digitizing        2420-000                                         1,155.00             219,099.15
                                                           later
 04/05/23    1005      De Hoover                           pulling transcripts for digitizing        2420-000                                         4,497.85             214,601.30
                                                           later & refund postage
 04/06/23     {29}     Antero Resources Corporation        O&G royalties for Tyler County,           1123-000                 1,898.46                                     216,499.76
                                                           WV, November - December, 2022
 04/28/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          327.00              216,172.76
                                                           Fees
 05/11/23    1006      Structured Asset Sales, LLC.        Anteros royalties from oil & gas          2990-000                                         1,898.46             214,274.30
                                                           interests in Tyler County, WV to
                                                           purchaser of O&G interests
 05/11/23    1007      De Hoover                           pull paper transcripts/work through       2420-000                                         5,388.20             208,886.10
                                                           lost data/cross ck all records/
                                                           process transcript requests
 05/11/23    1008      Lexi Hoover                         pull paper transcripts/work thru lost     2420-000                                           60.00              208,826.10
                                                           data/cross ck all records/ process
                                                           transcript requests
 05/11/23    1009      Miley Hoover                        pull paper transcripts/work thru lost     2420-000                                           60.00              208,766.10
                                                           data/cross ck all records/process
                                                           transcript requests
 05/16/23    1010      Records Imaging & Storage           Phase 1 NECJC files (transcripts)         2420-000                                         1,214.67             207,551.43
 05/26/23     {29}     EQT Production Company              roylaties - Wetzel Co, 105.763 AC         1123-000                 4,121.35                                     211,672.78
 05/31/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          377.29              211,295.49
                                                           Fees
 06/20/23     {29}     EQT Production Company              O/G royalties, Lease #2 Wetzel            1123-000                 1,255.02                                     212,550.51
                                                           County, WV
 06/22/23    1011      Records Imaging & Storage           Invoice #10000272 / 2nd                   2420-000                                          941.08              211,609.43
                                                           document image scan & 2 hard
                                                           drive scans
 06/30/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          339.32              211,270.11
                                                           Fees
 07/06/23    1012      De Hoover                           payroll from May 8, 2023 thru June        2420-000                                         5,775.00             205,495.11
                                                           24, 2023
 07/31/23              TriState Capital Bank               Bank and Technology Services              2600-000                                          322.37              205,172.74
                                                           Fees


                                                                                                 Page Subtotals:     $255,145.12               $49,972.38


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                              ! - transaction has not been cleared
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                                                   Cash Receipts And Disbursements Record
Case No.:              22-00056                                              Trustee Name:                       Thomas H. Fluharty (680230)
Case Name:             Ohio Valley University                                Bank Name:                          TriState Capital Bank
Taxpayer ID #:         **-***9865                                            Account #:                          ******6150 Checking Account
For Period Ending:     06/24/2024                                            Blanket Bond (per case limit):      $3,000,000.00
                                                                             Separate Bond (if applicable):      N/A

    1            2                      3                                             4                                5                       6                        7

  Trans.    Check or       Paid To / Received From              Description of Transaction           Uniform       Deposit               Disbursement          Account Balance
   Date      Ref. #                                                                                 Tran. Code       $                         $

 08/15/23    1013      U.S. Postal Service                  postage                                 2990-000                                        524.52              204,648.22
 08/24/23    1014      De Hoover                            final work on transcripts & financial   2420-000                                       2,000.00             202,648.22
                                                            information
 08/30/23    1015      Oklahoma Christian University        for partial coverage converting         2420-000                                       5,000.00             197,648.22
                                                            electronic transcript data into pdf
                                                            format to store
 08/31/23              TriState Capital Bank                Bank and Technology Services            2600-000                                        361.50              197,286.72
                                                            Fees
 09/29/23              TriState Capital Bank                Bank and Technology Services            2600-000                                        308.70              196,978.02
                                                            Fees
 10/24/23    1016      Records Imaging & Storage            postage & prep, deliver, boxes to       2990-000                                        323.11              196,654.91
                                                            FedEx
 10/24/23    1017      De Hoover                            last 35 hours work on Perkins           2420-000                                        875.00              195,779.91
                                                            Loan information
 10/30/23     {29}     McCulliss Oil & Gas, Inc.            sale proceeds of O&G Marion &           1123-000           38,000.00                                        233,779.91
                                                            Wetzel Counties, plus any in State
                                                            of WV
 10/31/23              TriState Capital Bank                Bank and Technology Services            2600-000                                        338.77              233,441.14
                                                            Fees
 11/27/23     {28}     United Bank                          INCOMING WIRE FROM OHIO                 1110-000           42,000.00                                        275,441.14
                                                            VALLEY UNIVERSITY INC 7099
                                                            1115
 11/28/23    1018      De Hoover                            Reimbursement of postage for            2420-000                                        521.02              274,920.12
                                                            mailing transcripts
 11/30/23              TriState Capital Bank                Bank and Technology Services            2600-000                                        380.92              274,539.20
                                                            Fees
 12/29/23              TriState Capital Bank                Bank and Technology Services            2600-000                                        425.56              274,113.64
                                                            Fees
 01/31/24              TriState Capital Bank                Bank and Technology Services            2600-000                                        482.06              273,631.58
                                                            Fees
 02/26/24    1019      Insurance Partners                   Acct #62949 / Ch 7 Trustee Bond         2300-000                                        153.16              273,478.42
                                                            payment
 02/29/24              TriState Capital Bank                Bank and Technology Services            2600-000                                        422.78              273,055.64
                                                            Fees
 03/07/24     {44}     Cranehill Capital Servicing          sale proceeds of Remnant Assets         1129-000           12,000.00                                        285,055.64
 03/08/24    1020      U.S. Postal Service                  postage mail motion sell remnant        2990-000                                        479.40              284,576.24
                                                            assets to creditors
 03/22/24    1021      Jack P. Lantzy                       Accountant fees prepare tax             3410-000                                       3,565.60             281,010.64
                                                            returns for Estate
 03/29/24              TriState Capital Bank                Bank and Technology Services            2600-000                                        435.07              280,575.57
                                                            Fees
 04/22/24     {43}     Abilene Christian University         sale of Olbright book collection        1229-000               2,000.00                                     282,575.57
 04/30/24              TriState Capital Bank                Bank and Technology Services            2600-000                                        479.20              282,096.37
                                                            Fees

                                            COLUMN TOTALS                                                              349,145.12               67,048.75               $282,096.37
                                                     Less: Bank Transfers/CDs                                          247,822.54                      0.00
                                            Subtotal                                                                   101,322.58               67,048.75
                                                     Less: Payments to Debtors                                                                         0.00

                                            NET Receipts / Disbursements                                            $101,322.58               $67,048.75




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                           ! - transaction has not been cleared
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                                       Cash Receipts And Disbursements Record
Case No.:           22-00056                                      Trustee Name:                   Thomas H. Fluharty (680230)
Case Name:          Ohio Valley University                        Bank Name:                      TriState Capital Bank
Taxpayer ID #:      **-***9865                                    Account #:                      ******6150 Checking Account
For Period Ending: 06/24/2024                                     Blanket Bond (per case limit): $3,000,000.00
                                                                  Separate Bond (if applicable): N/A

                                       Net Receipts:              $408,418.18
                           Plus Gross Adjustments:                       $0.00
                         Less Payments to Debtor:                        $0.00
                 Less Other Noncompensable Items:                        $0.00

                                         Net Estate:              $408,418.18




                                                                                                     NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                          NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******1551 Checking                                $307,095.60         $59,273.06                  $0.00

                                 ******6150 Checking Account                        $101,322.58               $67,048.75          $282,096.37

                                                                                    $408,418.18              $126,321.81          $282,096.37




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                                                                      Case: 22-00056 Ohio Valley University

                                                                                                                                               Claims Bar Date:    6/2/22 12:00


                     Claimant Name/ <Category>,                       Claim Type/ Date                                       Amount Filed/              Paid           Claim
      Claim #        Priority                                         Filed                   Acct#/ Memo/Journal                Allowed              to Date         Balance

     ATTY EXP         Thomas H. Fluharty                              Admin Ch. 7                                                   $ 797.14               $0.00          $797.14
                      408 Lee Avenue                                  05/15/24                                                      $ 797.14
                      Clarksburg, WV 26301

                      <3120-00 Attorney for Trustee Expenses (Trustee Firm)>, 200

     ATTY FEE         Thomas H. Fluharty                              Admin Ch. 7                                                $ 53,235.00               $0.00       $53,235.00
                      408 Lee Avenue                                  07/27/23                                                   $ 53,235.00
                      Clarksburg, WV 26301

                      <3110-00 Attorney for Trustee Fees (Trustee Firm)>, 200

           CF         U.S. Bankruptcy Court                           Admin Ch. 7                                                 $ 2,278.00               $0.00        $2,278.00
                      Northern District                               05/11/22                                                    $ 2,278.00
                      P.O. Box 70                                                             5-11-22: motion sell vehicle $188.
                      Wheeling, WV 26003                                                      6-1-22: motion sell coal interests $188.
                      <2700-00 Clerk of the Court Costs>, 200                                 7-8-22: motion sell O&G Dodd Co. $188.
                                                                                              7-28-22: motion sell O&G Harr Co $188.
                                                                                              8-25-22: motion sell O&G Tyler Co $188.-withdrawn
                                                                                              10-11-22: motion sell O&G Tyler Co $188.
                                                                                              11-10-22: motion sell O/G Tyler Co $188.
                                                                                              7-5-23: motion sell real & personal property $188
                                                                                              8-8-23: motion sell Marion O&G interests $188.
                                                                                              8-14-23: motion sell O&G interests Marion & Wetzel Counties $188
                                                                                              3-7-24: motion sell remnant assets to Cranehill Capital $199
                                                                                              3-7-24: motion sell Olbricht Collection books $199.
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                                                                       Case: 22-00056 Ohio Valley University

                                                                                                                                                Claims Bar Date:      6/2/22 12:00


                     Claimant Name/ <Category>,                        Claim Type/ Date                                        Amount Filed/             Paid              Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal                 Allowed             to Date            Balance

      TR EXP          Thomas H. Fluharty                               Admin Ch. 7                                                 $ 3,417.42                $0.00             $3,417.42
                      408 Lee Avenue                                   05/15/24                                                    $ 3,417.42
                      Clarksburg, WV 26301

                      <2200-00 Trustee Expenses>, 200

      TR FEE          Thomas H. Fluharty                               Admin Ch. 7                                                $ 23,670.91                $0.00            $23,670.91
                      408 Lee Avenue                                   04/29/24                                                   $ 23,670.91
                      Clarksburg, WV 26301

                      <2100-00 Trustee Compensation>, 200

           1          United Bank, Inc.                                Secured                                                    $ 60,799.92                $0.00             $2,000.00
                      Peter M. Pearl, Spilman Thomas & Battle          02/23/22                                                    $ 2,000.00
                      310 First Street, Suite 1100                                             Sale of Christian Book Collection proceeds will be paid to claimant.
                      Roanoke, VA 24011                                                        Deposit Accounts and Personal Property - Deed of Trust, Financing Statement,
                      <4110-00 Real Estate - Consensual Liens (mortgages, deeds of trust)>,    Possession
                      100

           2          Airgas USA                                       Unsecured                                                   $ 1,287.98                $0.00             $1,287.98
                      2015 Vaughn Road, Bldg 400                       03/04/22                                                    $ 1,287.98
                      Kennesaw, GA 30144

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           3          UnitedHealthcare Insurance Company               Unsecured                                                   $ 1,336.40                $0.00             $1,336.40
                      ATTN: CDM/Bankruptcy                             03/07/22                                                    $ 1,336.40
                      185 Asylum Street - 03B
                      Hartford, CT 06103
                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                                                                       Case: 22-00056 Ohio Valley University

                                                                                                                                          Claims Bar Date:   6/2/22 12:00


                     Claimant Name/ <Category>,                        Claim Type/ Date                               Amount Filed/              Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal        Allowed              to Date          Balance

           4          Parkersburg Lodging LLC                          Unsecured                                             $ 1,267.00             $0.00         $1,267.00
                      10057 Emerson Ave                                03/08/22                                              $ 1,267.00
                      Parkersburg, WV 26104

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           5          Ardeo Education Solutions, LLC                   Unsecured                                            $ 17,793.30             $0.00        $17,793.30
                      1011 Warrenville Road                            03/09/22                                             $ 17,793.30
                      Suite 100
                      Lisle, IL 60532-0906
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           6          Oak Hall Industries                              Unsecured                                             $ 2,622.72             $0.00         $2,622.72
                      840 Union St.                                    03/14/22                                              $ 2,622.72
                      PO Box 1078
                      Salem, VA 24153
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           7          Ana DaCosta                                      Unsecured                                            $ 10,000.00             $0.00        $10,000.00
                      1208 Market Street                               03/16/22                                             $ 10,000.00
                      PARKERSBURG, WV 26101

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           8          Fernanda Araya Toloza                            Unsecured                                        $ 100,000.00                $0.00       $100,000.00
                      1208 Market Street                               03/16/22                                         $ 100,000.00
                      PARKERSBURG, WV 26101

                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                                                                                                                                       Claims Bar Date:   6/2/22 12:00


                     Claimant Name/ <Category>,                        Claim Type/ Date                               Amount Filed/           Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal        Allowed           to Date          Balance

           9          Leedy Elevator Inspection Service                Unsecured                                            $ 200.00             $0.00           $200.00
                      2878 Stewartstown Rd                             03/17/22                                             $ 200.00
                      Morgantown, WV 26508

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           10         Kincheloe's Motors, Inc.                         Unsecured                                            $ 330.20             $0.00           $330.20
                      PO Box 169                                       03/18/22                                             $ 330.20
                      Parkersburg, WV 26102-0169

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           11         Miller & Isaly Home Services LLC                 Unsecured                                            $ 703.84             $0.00           $703.84
                      10105 St. Rt. 60                                 03/18/22                                             $ 703.84
                      Lowell, OH 45744

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           12         Dodson Pest Control                              Unsecured                                            $ 480.00             $0.00           $480.00
                      P.O. Box 10249                                   03/18/22                                             $ 480.00
                      Lynchburg, VA 24506-0249

                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                                                                        Case: 22-00056 Ohio Valley University

                                                                                                                                                   Claims Bar Date:       6/2/22 12:00


                      Claimant Name/ <Category>,                        Claim Type/ Date                                         Amount Filed/              Paid               Claim
      Claim #         Priority                                          Filed                   Acct#/ Memo/Journal                  Allowed              to Date             Balance

           13          Edna Mae Lindamood Estate                        Unsecured                                                    $ 8,720.00                 $0.00                $0.00
                       2758 St Rt 93 S E                                03/23/22                                                          $ 0.00
                       New Lexington, OH 43764                                                  Order (Doc 244) entered sustaining Tr's objection 12-21-23.
                                                                                                Trustee objects to claim- no supporting documentation evidencing the claim.
                       <7100-00 General Unsecured - § 726(a)(2)>, 610                           Dec 7, 2023 claimant filed a response.
                                                                                                Dec 13, 2023 TR amended his objection, duplicate of claim 18.


           14P         Direct Energy                                    Unsecured                                                    $ 1,995.28                 $0.00           $1,995.28
                       P.O. Box 32179                                   04/04/22                                                     $ 1,995.28
                       New York, NY 10087-2719                                                  Trustee's objection was granted, claim will be allowed as a general unsecured claim, order
                                                                                                entered 12-19-23 (Doc. 242)
                       <7100-00 General Unsecured - § 726(a)(2)>, 610                           Trustee objects to claim- priority status does not appear to fit within the definition of
                                                                                                "goods," will allow as a general unsecured claim.


           14U         Direct Energy                                    Unsecured                                                   $ 16,378.41                 $0.00          $16,378.41
                       P.O. Box 32179                                   04/04/22                                                    $ 16,378.41
                       New York, NY 10087-2719

                       <7100-00 General Unsecured - § 726(a)(2)>, 610

           15          Dominion Hope Gas                                Unsecured                                                   $ 56,961.58                 $0.00          $56,961.58
                       48 Columbia Blvd                                 04/04/22                                                    $ 56,961.58
                       Clarksburg, WV 26301

                       <7100-00 General Unsecured - § 726(a)(2)>, 610
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                     Claimant Name/ <Category>,                        Claim Type/ Date                               Amount Filed/              Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal        Allowed              to Date          Balance

           16         City of Vienna                                   Unsecured                                             $ 4,467.22             $0.00         $4,467.22
                      P.O. Box 5097                                    04/06/22                                              $ 4,467.22
                      Vienna, WV 26105

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           17         Suttle & Stalnaker, PLLC                         Unsecured                                            $ 77,170.34             $0.00        $77,170.34
                      1411 Virginia Street, East                       04/07/22                                             $ 77,170.34
                      Charleston, WV 25301

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           18         Edna Mae Lindamood Estate                        Unsecured                                             $ 8,720.00             $0.00         $8,720.00
                      2758 St Rt 93 S E                                04/07/22                                              $ 8,720.00
                      New Lexington, OH 43764

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           19         Ronald Eugene White                              Unsecured                                        $ 587,322.40                $0.00       $587,322.40
                      16631 S.R. 243                                   04/21/22                                         $ 587,322.40
                      Chesapeake, OH 45619

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           20         Mon Power                                        Unsecured                                            $ 70,870.80             $0.00        $70,870.80
                      5001 NASA Blvd                                   04/29/22                                             $ 70,870.80
                      Fairmont, WV 26554

                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                      Claimant Name/ <Category>,                        Claim Type/ Date                                         Amount Filed/               Paid               Claim
      Claim #         Priority                                          Filed                   Acct#/ Memo/Journal                  Allowed               to Date             Balance

           21          Longhouse Capital Advisors, LLC                  Unsecured                                                     $ 7,479.00                    $0.00        $7,479.00
                       1240 W. Barry Avenue                             05/02/22                                                      $ 7,479.00
                       Chicago, IL 60657

                       <7100-00 General Unsecured - § 726(a)(2)>, 610

           22          LEAF Capital Funding, LLC                        Secured                                                       $ 1,000.00                    $0.00              $0.00
                       c/o Legal Department                             05/05/22                                                          $ 0.00
                       2005 Market St. 14th Floor                                               Cisco Hardware and Monitors -UCC.
                       Philadelphia, PA 19103
                       <4110-00 Real Estate - Consensual Liens (mortgages, deeds of trust)>,
                       100
           22A         LEAF Capital Funding, LLC                        Unsecured                                                     $ 4,873.60                    $0.00        $4,873.60
                       c/o Legal Department                             05/05/22                                                      $ 4,873.60
                       2005 Market St. 14th Floor                                               Cisco Hardware and Monitors -UCC.
                       Philadelphia, PA 19103
                       <7100-00 General Unsecured - § 726(a)(2)>, 610

           23          LEAF Capital Funding, LLC                        Secured                                                       $ 5,873.60                    $0.00              $0.00
                       c/o Legal Department                             05/09/22                                                          $ 0.00
                       2005 Market St. 14th Floor                                               12-19-23 order (Doc. 241) entered sustaining trustee's objection.
                       Philadelphia, PA 19103                                                   Trustee objects to claim- duplicate of claim 22.
                       <4110-00 Real Estate - Consensual Liens (mortgages, deeds of trust)>,
                       100
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                     Claimant Name/ <Category>,                        Claim Type/ Date                               Amount Filed/              Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal        Allowed              to Date          Balance

           24         Frontier Communications                          Unsecured                                            $ 22,940.87             $0.00        $22,940.87
                      Bankruptcy Dept                                  05/13/22                                             $ 22,940.87
                      19 John St
                      Middletown, NY 10940
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           25         Tonya Miller                                     Unsecured                                            $ 14,910.61             $0.00        $14,910.61
                      1422 Washington Avenue                           05/16/22                                             $ 14,910.61
                      Milton, WV 25541

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           26         United Bank, Inc.                                Unsecured                                        $ 590,477.75                $0.00       $590,477.75
                      Peter M. Pearl, Spilman Thomas & Battle          05/18/22                                         $ 590,477.75
                      310 First Street, Suite 1100
                      Roanoke, VA 24011
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           27         Citynet LLC                                      Unsecured                                            $ 89,389.62             $0.00        $89,389.62
                      3600 University Ave                              05/23/22                                             $ 89,389.62
                      Morgantown, WV 26505

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           28         The Christian Chronicle                          Unsecured                                             $ 3,995.00             $0.00         $3,995.00
                      2801 E. Memorial Road                            05/26/22                                              $ 3,995.00
                      Edmond, OK 73013

                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                     Claimant Name/ <Category>,                        Claim Type/ Date                               Amount Filed/              Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal        Allowed              to Date          Balance

           29         Becky A. Ingram                                  Unsecured                                        $ 173,100.00                $0.00       $173,100.00
                      aka Becky A. McMahon                             05/31/22                                         $ 173,100.00
                      2901 Tolar Hwy.
                      Tolar, TX 76476
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           30         Philadelphia Indemnity Insurance Company         Unsecured                                            $ 36,425.37             $0.00        $36,425.37
                      TMNA Services, LLC Attn: Legal                   05/31/22                                             $ 36,425.37
                      3 Bala Plaza , Suite 400
                      Bala Plaza, PA 19004
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           31         UMB Bank, N.A.                                   Unsecured                                     $ 16,096,235.69                $0.00    $16,096,235.69
                      c/o Michael Slade                                06/01/22                                      $ 16,096,235.69
                      120 South Sixth Street, Suite 1400
                      Minneapolis, MN 55402
                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           32         Anita Coultrap                                   Unsecured                                      $ 2,559,738.00                $0.00     $2,559,738.00
                      910 E. Market Street                             06/01/22                                       $ 2,559,738.00
                      Cadiz, OH 43907

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           33         Keith Stotts                                     Unsecured                                        $ 938,500.00                $0.00       $938,500.00
                      1222 Cisler Drive                                06/01/22                                         $ 938,500.00
                      Marietta, OH 45750

                      <7100-00 General Unsecured - § 726(a)(2)>, 610
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                     Claimant Name/ <Category>,                        Claim Type/ Date                                     Amount Filed/           Paid            Claim
      Claim #        Priority                                          Filed                   Acct#/ Memo/Journal              Allowed           to Date          Balance

           34         U.S. Department of Education                     Unsecured                                            $ 2,173,876.71             $0.00     $1,640,058.71
                      400 Maryland Avenue SW                           06/01/22                                             $ 1,640,058.71
                      Washington, DC 20202                                                     Claim 39 amends this claim

                      <7100-00 General Unsecured - § 726(a)(2)>, 610

           35         Devon L Gosnell                                  Unsecured                                             $ 241,965.02              $0.00       $241,965.02
                      9192 Chestwick Dr                                06/02/22                                              $ 241,965.02
                      Germantown, TN 38139-5511
                                                                                               09/06/2022 06:38:36 System was unable to recognize exact class of claims due
                      <7100-00 General Unsecured - § 726(a)(2)>, 610                                               to the mismatch in the amounts sum. Other amounts were
                                                                                                                   as follows:
                                                                                                                   Secured: $250,000.00
                                                                                                                   Claim Amount: $241,965.02

           36         Henry Schein                                     Unsecured                                                $ 4,318.57             $0.00         $4,318.57
                      135 Duryea Rd.                                   06/03/22                                                 $ 4,318.57
                      Melville, NY 11747-3824

                      <7200-00 Tardy General Unsecured - § 726(a)(3)>, 620

           37         Sarah Alice Warner                               Unsecured                                              $ 31,166.00              $0.00        $31,166.00
                      54 Willow Brook Way N                            03/29/23                                               $ 31,166.00
                      Delaware, OH 43015

                      <7200-00 Tardy General Unsecured - § 726(a)(3)>, 620
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                     Claimant Name/ <Category>,                      Claim Type/ Date                                         Amount Filed/              Paid               Claim
      Claim #        Priority                                        Filed                    Acct#/ Memo/Journal                 Allowed              to Date             Balance

           38         Ruth I Wharton Estate                          Unsecured                                                    $ 10,000.00                $0.00          $10,000.00
                      Lisa A. Wharton-Turner, Executrix              04/06/23                                                     $ 10,000.00
                      261 Shiloh Lane
                      Buckhannon, WV 26201
                      <7200-00 Tardy General Unsecured - § 726(a)(3)>, 620

           39         U.S. Department of Education                   Unsecured                                                 $ 1,640,058.71                $0.00       $1,640,058.71
                      400 Maryland Avenue SW                         09/20/23                                                  $ 1,640,058.71
                      Washington, DC 20202                                                    this claim is marked amending claim 34

                      <7200-00 Tardy General Unsecured - § 726(a)(3)>, 620

           40         Aladdin Food Management Services, LLC          Secured                                                   $ 1,212,774.27                $0.00          $42,000.00
                      16567 Collections Centr                        02/17/22                                                     $ 42,000.00
                      Chicago, IL 60693-1656                                                  Judgement Lien dated October 13, 2020 filed Ot 27, 2020 plus interest & costs, Lien Bk
                                                                                              2141, Pg 805 Clerk Co. Comm Wood Co.
                      <4120-00 Real Estate - Non-consensual Liens (judgments)>, 100


           41         Hope Gas formerly known as Dominion Energy     Admin Ch. 7                                                   $ 4,035.18                $0.00           $4,035.18
                      West Virginia                                  09/23/22                                                      $ 4,035.18
                                                                                              Order entered 9-23-22 (Doc #131)

                      <2990-00 Other Chapter 7 Administrative Expenses>, 200

           42         Mon Power                                      Admin Ch. 7                                                   $ 5,824.02                $0.00           $5,824.02
                                                                     09/23/22                                                      $ 5,824.02
                                                                                              Order entered 9-23-22 (Doc #132)

                      <2990-00 Other Chapter 7 Administrative Expenses>, 200
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                     Claimant Name/ <Category>,           Claim Type/ Date                               Amount Filed/              Paid                Claim
      Claim #        Priority                             Filed                   Acct#/ Memo/Journal        Allowed              to Date              Balance

                                                                                                               Case Total:                  $0.00   $25,202,797.66
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                                    TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                Exhibit D


      Case No.: 22-00056
      Case Name: Ohio Valley University
      Trustee Name: Thomas H. Fluharty

                                                        Balance on hand:       $                            282,096.37

            Claims of secured creditors will be paid as follows:

  Claim      Claimant                                          Claim         Allowed           Interim          Proposed
  No.                                                       Asserted         Amount        Payments to           Payment
                                                                             of Claim             Date

  1          United Bank, Inc.                              60,799.92         2,000.00               0.00        2,000.00
  22         LEAF Capital Funding, LLC                        1,000.00             0.00              0.00              0.00
  23         LEAF Capital Funding, LLC                        5,873.60             0.00              0.00              0.00
  40         Aladdin Food Management Services,            1,212,774.27       42,000.00               0.00       42,000.00
             LLC

                                                   Total to be paid to secured creditors:        $              44,000.00
                                                   Remaining balance:                            $             238,096.37

            Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                             Total           Interim          Proposed
                                                                           Requested         Payments            Payment
                                                                                               to Date

  Trustee, Fees - Thomas H. Fluharty                                         23,670.91               0.00       23,670.91
  Trustee, Expenses - Thomas H. Fluharty                                      3,417.42               0.00        3,417.42
  Attorney for Trustee Fees - Thomas H. Fluharty                             53,235.00               0.00       53,235.00
  Attorney for Trustee, Expenses - Thomas H. Fluharty                          797.15                0.00          797.15
  Charges, U.S. Bankruptcy Court                                              2,278.00               0.00        2,278.00
  Other Chapter 7 Administrative Expenses - Hope Gas formerly                 4,035.18               0.00        4,035.18
  known as Dominion Energy West Virginia
  Other Chapter 7 Administrative Expenses - Mon Power                         5,824.02               0.00        5,824.02
                        Total to be paid for chapter 7 administrative expenses:                  $              93,257.68
                        Remaining balance:                                                       $             144,838.69

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                       Total            Interim           Proposed
                                                                         Requested        Payments          Payment

                                                          None




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                     Total to be paid for prior chapter administrative expenses:             $             0.00
                     Remaining balance:                                                      $       144,838.69

            In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

          Allowed priority claims are:
  Claim     Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                   of Claim                   to Date             Payment

                                                      None


                                                   Total to be paid for priority claims:     $             0.00
                                                   Remaining balance:                        $       144,838.69




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              The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
              Timely claims of general (unsecured) creditors totaling $23,379,996.71 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.6 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  2           Airgas USA                                      1,287.98                    0.00                      7.99
  3           UnitedHealthcare Insurance                      1,336.40                    0.00                      8.28
              Company
  4           Parkersburg Lodging LLC                         1,267.00                    0.00                      7.85
  5           Ardeo Education Solutions, LLC                 17,793.30                    0.00                 110.23
  6           Oak Hall Industries                             2,622.72                    0.00                  16.25
  7           Ana DaCosta                                    10,000.00                    0.00                  61.95
  8           Fernanda Araya Toloza                        100,000.00                     0.00                 619.50
  9           Leedy Elevator Inspection Service                 200.00                    0.00                      1.24

  10          Kincheloe's Motors, Inc.                          330.20                    0.00                      2.05
  11          Miller & Isaly Home Services LLC                  703.84                    0.00                      4.36
  12          Dodson Pest Control                               480.00                    0.00                      2.97
  13          Edna Mae Lindamood Estate                           0.00                    0.00                      0.00
  14P         Direct Energy                                   1,995.28                    0.00                  12.36
  14U         Direct Energy                                  16,378.41                    0.00                 101.46
  15          Dominion Hope Gas                              56,961.58                    0.00                 352.88
  16          City of Vienna                                  4,467.22                    0.00                  27.67
  17          Suttle & Stalnaker, PLLC                       77,170.34                    0.00                 478.07
  18          Edna Mae Lindamood Estate                       8,720.00                    0.00                  54.02
  19          Ronald Eugene White                          587,322.40                     0.00               3,638.45
  20          Mon Power                                      70,870.80                    0.00                 439.04
  21          Longhouse Capital Advisors, LLC                 7,479.00                    0.00                  46.33
  22A         LEAF Capital Funding, LLC                       4,873.60                    0.00                  30.19
  24          Frontier Communications                        22,940.87                    0.00                 142.12
  25          Tonya Miller                                   14,910.61                    0.00                  92.37
  26          United Bank, Inc.                            590,477.75                     0.00               3,658.00
  27          Citynet LLC                                    89,389.62                    0.00                 553.77
  28          The Christian Chronicle                         3,995.00                    0.00                  24.75
  29          Becky A. Ingram                              173,100.00                     0.00               1,072.35
  30          Philadelphia Indemnity Insurance               36,425.37                    0.00                 225.65
              Company
  31          UMB Bank, N.A.                             16,096,235.69                    0.00              99,715.91
  32          Anita Coultrap                              2,559,738.00                    0.00              15,857.53
  33          Keith Stotts                                 938,500.00                     0.00               5,813.99

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  Claim     Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                    of Claim                 to Date              Payment

  34        U.S. Department of Education              1,640,058.71                    0.00            10,160.14
  35        Devon L Gosnell                             241,965.02                    0.00              1,498.97
                       Total to be paid for timely general unsecured claims:                 $       144,838.69
                       Remaining balance:                                                    $             0.00

           Tardily filed claims of general (unsecured) creditors totaling $1,685,543.28 have been allowed
    and will be paid pro rata only after all allowed administrative, priority and timely filed general
    (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
    percent, plus interest (if applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments              Proposed
  No.                                                     of Claim                 to Date              Payment

  36        Henry Schein                                  4,318.57                    0.00                     0.00
  37        Sarah Alice Warner                           31,166.00                    0.00                     0.00
  38        Ruth I Wharton Estate                        10,000.00                    0.00                     0.00
  39        U.S. Department of Education              1,640,058.71                    0.00                     0.00

                       Total to be paid for tardily filed general unsecured claims:          $                 0.00
                       Remaining balance:                                                    $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                    of Claim                 to Date              Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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